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O AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                           Western                                  District of                                    Michigan
           UNITED STATES OF AMERICA
                       V.                                                         ORDER OF DETENTION PENDING TRIAL
                 Joshshan Childs                                              Case Number: 1:05-cr-00160
                           Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                             Part I— Findings of Fact
:    (1) The  defendant  is charged with an  offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed that is
         :    a crime of violence as defined  in 18 U.S.C. § 3156(a)(4).
           : an offense for which the maximum sentence is life imprisonment or death.
           G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                        .*
           G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
               § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
           for the offense described in finding (1).
G      (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
           safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                 Alternative Findings (A)
G      (1) There is probable cause to believe that the defendant has committed an offense
           G for which a maximum term of imprisonment of ten years or more is prescribed in                                                           .
           G under 18 U.S.C. § 924(c).
G      (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
           the appearance of the defendant as required and the safety of the community.
                                                                 Alternative Findings (B)
:      (1) There is a serious risk that the defendant will not appear.
:      (2) There is a serious risk that the defendant will endanger the safety of another person or the community.




                                             Part II— W ritten Statement of Reasons for Detention
     I find that the credible testimony and information submitted at the hearing establishes by     : clear and convincing evidence : a prepon-
derance of the evidence that
for the reasons stated on the record Defendant presents a serious risk of flight and a danger to the community.




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

              September 22, 2005                                                            /s/ Timothy P. Greeley
Date                                                                                      Signature of Judicial Officer
                                                                             Timothy P. Greeley,, United States Magistrate Judge
                                                                                     Name and Title of Judicial Officer
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
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